                            IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

UNITED STATES OF AMERICA,                     )
                                              )
                               Plaintiff,     )
                                              )
                       v.                     )        No. 3:04-CR-75
                                              )        (PHILLIPS/SHIRLEY)
KURT RUSSELL,                                 )
                                              )
                               Defendant.     )


                                 MEMORANDUM AND ORDER

       This cause came before the undersigned upon referral [Doc. 140] of defendant’s Specific

Brady Request for Sentencing Post Booker and Fanfan [Doc. 138], filed on April 27, 2005. The

defendant seeks the disclosure of favorable evidence in order to assist the District Court in

mitigating his punishment and in applying the advisory Sentencing Guidelines. The government

responds [Doc. 142] that it has already disclosed any existing Brady material to the defendant in

discovery.

       The Supreme Court has held that the government violates due process when it withholds

from the defendant favorable evidence that is “material either to guilt or punishment.” Brady v.

Maryland, 373 U.S. 83, 87 (1963) (emphasis added). Moreover, this Court’s Order on Discovery

and Scheduling [Doc. 14], entered on July 21, 2004, requires the government to disclose information

“favorable to the defendant on the issues of guilt or punishment within the scope of Brady” and its

progeny.     (Emphasis added).    Accordingly, the Court finds that it has already ordered the

government to turn over favorable materials relevant to the defendant’s punishment.             The

government states that it is in compliance with this order, having already disclosed said materials.

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“The prosecuting attorney is an officer of the court and, absent some indication of misconduct, the

court is entitled to accept his representations” regarding the disclosure of Brady materials. United

States v. Hernandez, 31 F.3d 354, 361 (6th Cir. 1994) (holding that the court is not required to

conduct an in camera review of documents to verify the prosecutor’s representations). The Court

finds the defendant has raised no indication of misconduct with regard to the disclosure of

exculpatory evidence. Accordingly, the defendant’s Specific Brady Request for Sentencing Post

Booker and Fanfan [Doc. 138] is DENIED as moot.

       IT IS SO ORDERED.

                                                     ENTER:


                                                       s/ C. Clifford Shirley, Jr.
                                                     United States Magistrate Judge




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